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                        EXHIBIT 15




                                                         EXHIBIT
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                                         M.etholist-
                                               LEADING MEDICINE




                                   Additional
                            Discharge Information
                                  Ali Choudhri
                           Date of Birth: 1/24/1980
                            CSN:2100178458317
 The information in this after visit summary is up to date as of: 6/3/24 12:58
                                       PM.

                                                    MyChart
          This After Visit Summary Discharge Instructions Document is available in MyChart.
               Questions/Problems accessing your MyChart please call (832) 667-5694.

  Reason for HospitalizatiQo
    Your primary diagnosis was: Stroke

  Procedures and tests performed during your visit
  CT Stroke Brain Wo Contrast LKN > 6 Hours
  ECG 12 lead
  ECG ED Preliminary Interpretation - Not an Order
  MRA Head Wo Contrast
  MRA Neck Wo Contrast
  MRI Brain Wo Contrast
  Transthoracic Echocardiogram Complete, (w Contrast, Strain and 30 if needed)

  Information for Referrals
    Ambulatory referral to Occupational Therapy
    Ordering Provider: Cherian, Cecil, MD
          Occupational Therapy

    Specialty Services Required
    Pending Authorization
    Occupational Therapy
   Services Requested: Evaluate and Treat
   Primary Sub-Specialty: Neuro
    Ambulatory referral to Physical Therapy
    Ordering Provider: Cherian, Cecil, MD
          Physical Therapy

    Specialty Services Required
                                                                                      EXHIBIT
    Pending Authorization
    Physical Therapy                                                                     9.a
   Services Requested: Evaluate and Treat
   Primary Sub-Specialty: Neuro

  You are allergic to the following                                              Date Reviewed: 6/3/2024
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  You are allergic to the following (continued)                                             Date Reviewed: 6/3/2024
    Allergen                                                  Reactions
    Iodine                                                    Hives
                                                              Shortness Of Breath

    Shellfish Derived                                         Not Noted

  Current Immunizations
    No immunizations on file.

  Patient Lines/Drains/Airways Status
    Active Drain I Line I Wound / Pressure Ulcer
                               Placement       Placement
       Name                    date            time         Site               Days       Last dressing change
       Incision 01/18/19 Left  01/18/19        0851         Back               1963
       Back
       Incision 03/08/19 Back  03/08/19        0841         Back               1914
       Wound 10/09/22 Incision 10/09/22        1652         Abdomen            603
       Abdomen

  Pending Labs
    Order                                                     Current Status
    Comprehensive metabolic panel                             Collected (06/02/24 1649)
    Troponin T                                                Collected (06/02/24 1649)

  Information on Stroke


Discharge Instructions for Stroke
You have a high risk for a stroke, or a TIA (transient ischemic attack). During a stroke, blood stops flowing to
part of your brain. This can damage areas in the brain that control other parts of the body. Symptoms from a
stroke depend on which part of the brain has been affected.
Stroke risk factors
Once you've had a stroke, you 're at greater risk for another one. Listed below are some other factors that can
raise your risk for a stroke:
  • High blood pressure
  • High cholesterol
  • Cigarette or cigar smoking
  • Diabetes
  • Carotid or other artery disease
  • Atrial fibrillation, atrial flutter, or other heart disease
  • Not being physically active
  • Obesity
  • Certain blood disorders, such as sickle cell anemia
  • Drinking too much alcohol
  • Abusing street drugs
  • Race
  • Gender
  • Family history of stroke
  • Diet high in salty, fried, or greasy foods
Changes in daily living
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        Information on Stroke (continued)
     Doing some everyday tasks may be hard after you've had a stroke. But you can learn new ways to manage. In
     fact, doing daily activities may help you to regain muscle strength. This can help your affected arm or leg work
     more normally. Be patient. Give yourself time to adjust. And appreciate the progress you make.
     Daily activities
     You may be at risk of falling. Make changes to your home to help you walk more easily. A therapist will decide
     if you need an assistive device, such as a cane or walker, to walk safely.
     You may need to see an occupational therapist (OT). Or you may see a physical therapist (PT). These
     healthcare providers can help you to learn new ways of doing things. For example, you may need to make
     changes in how you bathe or dress. You may also need a speech therapist. This is someone who helps you speak
     nom1ally again and be able to swallow.
     Tips for showering or bathing
        • Test the water temperature with a hand or foot that was not affected by the stroke.
        • Use grab bars, a shower seat, a handheld showerhead, and a long-handled brush.
        • Use any other device as advised by your therapists.
     Tips for getting dressed
        • Dress while sitting, starting with the affected side or limb.
        • Wear shirts that pull easily over your head. Wear pants or skirts with elastic waistbands.
        • Use zippers with loops attached to the pull tabs.

     Lifestyle changes
        • Take your medicines exactly as directed. Don't skip doses.
        • Begin an exercise program. Ask your provider how to get started. Ask how much activity you should tty
          to get every day or week. You can benefit from simple activities such as walking or gardening.
        • Limit how much alcohol you drink.
        • Control your cholesterol level. Follow your provider's advice about how to do this.
        • If you are a smoker, quit now. Join a stop-smoking program to improve your chances of success. Ask
          your provider about medicines or other methods to help you quit.
        • Learn stress management methods. These can help you deal with stress in your home and work life.
     Diet
     Your healthcare provider will guide you on changes you may need to make to your diet. They may advise that
     you see a registered dietitian for help with changes. The changes can improve your cholesterol, blood pressure,
     and blood sugar. Changes may include:
        • Reducing the amount of fat and cholesterol you eat
        • Reducing the amount of salt (sodium) in your diet, especially if you have high blood pressure
        • Eating more vegetables and fruits
        • Eating more lean proteins, such as fish, poultry, and beans and peas (legumes)
        • Eating less red meat and processed meats
        • Using low-fat dairy products
        • Limiting vegetable oils and nut oils
        • Limiting sweets and processed foods such as chips, cookies, and baked goods
        • Not eating trans fats. These are often found in processed foods. Don't eat any food that has hydrogenated
          oils listed in its ingredients.
     Follow-up care
        • Keep your medical appointments. Close follow-up is important to stroke rehabilitation and recovery.

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        • Some medicines require blood tests to check for progress or problems. Keep follow-up appointments for
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  Information on Stroke (continued)
      any blood tests ordered by your providers.

Call 911
Call 911 right away if you have any of the following symptoms of stroke:
   • Weakness, tingling, or loss offeeling on one side of your face or body
   • Sudden double vision or trouble seeing in one or both eyes
   • Sudden trouble talking or slurred speech
   • Trouble understanding others
   • Sudden, severe headache
   • Dizziness, loss of balance, or a sense of falling
   • Blackouts or seizures
B.E. F.A.S.T. is an easy way to remember the signs of stroke. When you see these signs, you know that you
need to call 911 fast.
B.E. F.A.S.T. stands for:
   • Bis for balance. Sudden loss of balance or coordination.
   • Eis for eyes. Vision changes in one or both eyes.
   • Fis for face drooping. One side of the face is drooping or numb. When the person smiles, the smile is
     uneven.
   • A is for arm weakness. One arm is weak or numb. When the person lifts both arms at the same time, one
     arm may drift downward.
   • S is for speech difficulty. You may notice slurred speech or trouble speaking. The person can't repeat a
     simple sentence correctly when asked.
   • T is for time to call 911. If someone shows any of these symptoms, even if they go away, call 911 right
     away. Make note of the time the symptoms first appeared.

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substitute for professional medical care. Always follow you r healthcare professional's instru ctions.




  Information on Modified Rankin Scale

                                         Metl1olist�
                                              NEUROLOGICAl INSTITUTE

                                            Stroke Assessment Notice



Dear Patient,




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   Information on Modified Rankin Scale (continued)
As part of Houston Methodist Hospital's efforts to evaluate the outcomes of our patients, you may be selected to
receive a short phone call approximately 90 days after you are discharged home. This phone call will consist of an
evaluation called the modified Rankin Scale. The modified Rankin Scale is a widely used assessment scale that evaluates
the degree of disability or dependence during daily activities of people who have suffered a stroke.

This phone call will take approximately 5-7 minutes to complete and will include questions that pertain to your ability to
work and engage in social and leisure activities.

If you are unable to participate, we will ask to speak to a member of your household that can answer on your behalf. All
of the information provided during this phone call will be kept confidential. If you do not wish to participate, you are
free to decline or withdraw your participation at any time.

Prior to discharge, please ensure that your contact information on file is current. If your phone number has changed,
please alert your nursing staff. If you have any questions about the modified Rankin Scale assessment, please feel free to
ask your nurse and he/she will direct your questions to the appropriate person.

We appreciate your participation and patronage.



Warmest regards,

Your Houston Methodist Stroke Team


  Behavioral Health Resources
Houston Methodist patients can access licensed behavioral health providers in the MyMethodist app. Go to
your App Store, download the MyMethodist app, and select Virtual Health Care to schedule your session
using your mobile device or laptop from anywhere.

All of the behavioral health services are available without insurance. The cost of the visit varies based on the
experience of the therapist. Please enter your insurance information before your visit to determine your
individual pricing.




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If there is an emergency, call 911.

FIND HELP: There are also resources on https://www.findhelp.org/
Enter your zip code to see services related to Financial assistance, food, medical care, transit, goods, education, work,
legal, and others for free or reduced-cost




                                                                        TEXAS
                                                                        Heal�h and Human
                                                                        Services            @l!:1
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            Need help
           and don't
           know who
           to call?



      We have trained specialists ready to connect you with services.
      • Food assistance                         • Mental health services           • Aging and disability
      • Housing and shelter                     • Financial and legal              • Crisis and emergency
      • Health services                         • Employment help                  • And more
      • Veterans assistance                     • Child care and education



                                           To learn more, go to 211Texas.org

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                                                                                   WE CAN HELP

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          llamar?

       MARQUE
         EL
     Tenemos especialistas capacitados listos para conectarlo con servicios.
     • Ayuda con la comida      • Servicios de salud mental              • Personas mayores o discapacitadas
     • Vivienda y refugio       • Asuntos financieros y legales          • Crisis y emergencias
     • Servicios de salud       • Ayuda para encontrar empleo            • Y mucho mas
     • Ayuda para veteranos     • Cuidado de nines y educaci6n



                              Para saber mas, vaya a 211Texas.org

_______ PODEMOSAYUDAR


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  We Will Call You
Within 24 business hours after your discharge, you should receive a text message or automated
phone call to check how you are doing. If you indicate through the automated text or call that you
have a question about medications or discharge instructions, or have other concerns about your
health, one of our nurses will respond between 8 am-5 pm, Mon-Fri, at no cost to you. We appreciate
your response, as we are available to help you manage your care at home.

If you have a question or problem before you receive this call or text, please contact your provider or
the hospital at 713-790-3311. Your health and safety are always important to us. Thank you for
choosing Houston Methodist Hospital.




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